              IN THE UNITED STATES BANKRUPTCY COURT
               FOR THE NORTHERN DISTRICT OF ALABAMA
                          EASTERN DIVISION

IN RE:                       )
                             )
MARK POWERS & COMPANY, INC., )                BANKRUPTCY CASE NO:
                             )                21-40264-JJR-7
             Debtor.         )
                             )
ROCCO J. LEO, TRUSTEE,       )
                             )
      Plaintiff.             )
                             )                ADVERSARY PROCEEDING NO.:
vs.                          )                22-40006
                             )
CONTINENTAL REPUBLIC CAPITAL )
LLC, CHTD COMPANY,           )
ON DECK CAPITAL, INC.,       )
                             )
      Defendants.            )

  APPLICATION FOR ENTRY OF DEFAULT AND SUPPORTING AFFIDAVIT

      Comes now, Rocco J. Leo, trustee and plaintiff in the above styled action, by and
through his attorney, and requests the Clerk of this Court pursuant to Bankruptcy Rule
7055 and Rule 55 of the Federal Rules of Civil Procedure to enter a default against the
Defendant, CHTD Company, in the above styled action for failure to plead, answer, or
otherwise defend as set out in the affidavit attached hereto.

                                              Respectfully submitted,



                                              /s/William Dennis Schilling
                                              William Dennis Schilling
                                              Attorney for Trustee

Of Counsel:

William Dennis Schilling
Attorney at Law
P. O. Box 55147
Birmingham, AL 35255-5147
205-328-0464
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Case 22-40006-JJR    Doc 33    Filed 07/15/22 Entered 07/15/22 14:08:06     Desc Main
                               Document     Page 1 of 4
                           CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing motion has been served upon the
following by first class United States mail, properly addressed with postage prepaid on
the 15th day of July 2022.

CHTD Company
c/o Illinois Corporation Service Company
Its registered agent
801 Adlai Stevenson Drive
Springfield, IL 62703



                                               /s/William Dennis Schilling
                                               William Dennis Schilling




Case 22-40006-JJR      Doc 33    Filed 07/15/22 Entered 07/15/22 14:08:06    Desc Main
                                 Document     Page 2 of 4
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LLC, CHTD COMPANY,           )
ON DECK CAPITAL, INC.,       )
                             )
      Defendants.            )

                    AFFIDAVIT IN SUPPORT OF
   APPLICATION FOR ENTRY OF JUDGMENT PURSUANT TO RULE 55(b)

William Dennis Schilling, being duly sworn, deposes and says:

   1. That I am the attorney of record for the plaintiff in this action and have personal
      knowledge of the facts set forth in this affidavit.

   2. The complaint in the above case was filed on April 21, 2022.

   3. The Alias Summons in the above case was issued by the clerk on May 19, 2022.

   4. The Alias Summons and complaint were served on defendant, CHTD Company
      by first class mail at c/o Illinois Corporation Service Company, Its registered agent, 801
      Adlai Stevenson Drive, Springfield, IL 62703.

   5. An answer to the complaint was due on June 29, 2022.

   6. The undersigned has not received any response to this adversary proceeding nor
      has a response been filed with the clerk in this adversary proceeding by defendant,
      CHTD Company.

   7. To the best of my information and belief:




Case 22-40006-JJR      Doc 33    Filed 07/15/22 Entered 07/15/22 14:08:06           Desc Main
                                 Document     Page 3 of 4
Case 22-40006-JJR   Doc 33   Filed 07/15/22 Entered 07/15/22 14:08:06   Desc Main
                             Document     Page 4 of 4
